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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTICT OF ILLINOIS
                                 EASTERN DIVISION


THE INTERNATIONAL ASSOCIATION OF                     )
MACHINIST AND AEROSPACE WORKERS                      )
DISTRICT 141,                                        )
                                                     )
       Plaintiffs,                                   )       Case No.
                                                     )
v.                                                   )       Judge
                                                     )
                                                     )       Magistrate Judge
UNITED AIRLINES, INC.,                               )
                                                     )
       Defendants.                                   )

                                    COMPLAINT AT LAW

       Plaintiffs, THE INTERNATIONAL ASSOCIATION OF MACHINISTS AND

AEROSPACE WORKERS DISTRICT 141, by its attorneys, the law firm of Gregorio ♦ Marco,

complain of the Defendant, UNITED AIRLINES, INC. and allege as follows:

                                JURISDICTION AND VENUE


       1.      This Court has jurisdiction over the action pursuant to Sections §152 - §158 of the

Railway Labor Act (RLA) of 1926, 45 U.S.C. § 151, et seq, and the Federal Arbitration Act, 9

U.S.C. § 1, et seq.

       2.      The International Association of Machinists and Aerospace Workers District 141,

hereafter (“District 141”) is a labor organization representative of employees working for a carrier

within the meaning of Sections 151 and 152 of the Railway Labor Act (“RLA”) 45 U.S.C. § 151,

et seq. Its principal offices are located at 1771 Commerce Drive, Suite 103, Elk Grove Village,

Cook County, Illinois, 60007, within the geographic jurisdiction of the Court.




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        3.     United Airlines, Inc., hereafter (“United”) is a corporation an employer and carrier

in an industry affecting transportation within the meaning of Sections 151 and 152 of the RLA, 45

U.S.C. § 151, et seq. United’s headquarters is located at 233 S. Wacker Dr., Chicago, Cook County,

Illinois, 60606 within geographic jurisdiction of this Court.

                            FACTS COMMON TO ALL COUNTS

        4.     District 141 represents members working for United in its Passenger Services, Fleet

Services, Storekeeper, and Maintenance Instructor departments throughout the United States.

        5.     District 141 and United are signatory parties to Collective Bargaining Agreements,

collectively (“CBAs”) between United Airlines and the International Association of Machinist and

Aerospace Workers, 2016-2021, which governs the terms and working conditions of bargaining

unit employee members of District 141. A true and correct copy of the Passenger Service

Employees CBA is attached as Exhibit 1. A true and correct copy of the Fleet Service Employees

CBA is attached as Exhibit 2. A true and correct copy of the Storekeeper Employees CBA is

attached as Exhibit 3. A true and correct copy of the Maintenance Instructor Employees CBA is

attached as Exhibit 4.

        6.     The CBAs between the bargaining unit employees in Passenger Services, Fleet

Services, Storekeepers and Maintenance Instructors provides in part for grievance disputes to be

settled through a Four Step process if either party is not satisfied with the prior step decision. See

generally Article 9, B, 3(d) of the CBAs. The dispute mechanism is identical in all of the relevant

CBAs.

        7.     If the grievance remains unsettled after being processed through Step 3, Step 4

allows the System General Chairman to request the case to be heard by the System Board in

compliance with Section 204, Title II of the Railway Labor Act as amended. Pursuant to the



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relevant CBAs Step 4 provides in part a dispute resolution mechanism submitted to a third-party

neutral arbitrator:

        “(A) The System Board of Adjustment will consist of 3 members: the Chairman, a neutral
        member selected in a manner agreeable to the Company and Union; a Company Member
        appointed by the Company; and a Union Member appointed by the Union. In matters
        relating to contract interpretation, all 3 members of the Board will hear and decide the case
        by majority vote. In disciplinary cases, only the Chairman will sit on the Board and will
        alone decide the case.
        (B) Unless the parties agree otherwise, the Board will meet in the city where the Company’s
        Executive Offices are maintained.
        (C) The Board will have the power to make sole, final and binding decisions on the
        Company, the Union, and the employee(s) insofar as a grievance relates to the meaning
        and application of this Agreement. The Board will have no power to modify, add to, or
        otherwise change the terms of this Agreement, establish or change wages, rules, or working
        conditions covered by this Agreement.”

        8.      District 141 filed multiple grievances on behalf of its bargaining unit members

against United for its failure to comply with regulations promulgated by the Port Authority of

New York & New Jersey (“Port Authority”)’s Amended Rules for Implementation of Minimum

Wage Policy for Non-Trade Labor Service Contracts – LaGuardia Airport, John F. Kennedy

International Airport and Newark Liberty International Airport.

        9.      The Port Authority of New York and New Jersey is a joint venture between the

states of New York and New Jersey established in 1921 through an interstate compact authorized

by the United States Congress. The Port Authority is controlled by the Governors of New York

and New Jersey who appoint members of the agency’s Board of Commissioners to oversee the

Port Authority.

        10.     On October 15, 2018, the Port Authority promulgated regulations that state, in

relevant part, “[a]ll Contractors subject to the Policy and these Rules shall provide its workers

performing Covered Services or Port District Covered Services a paid holiday for Martin Luther

King, Jr. Day.” The Authority clarified, through a “Frequently Asked Questions (and Answers)”



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addendum, that workers should “be paid as if he or she worked for that day without being

required to work—and without having to incur, for example, a vacation day, a sick day, or a

personal day.” A true and correct copy of the Port Authority Regulation and Q&A is attached as

Exhibit 5.

        11.     United is a Contractor subject to the Policy, Rules, and Regulations promulgated

by the Port Authority.

        12.     District 141 represents numerous bargaining unit employees who perform

bargaining unit work under the Passenger Service, Fleet Service, Storekeeper and Maintenance

Instructor CBAs at LaGuardia Airport, John F. Kennedy International Airport and Newark

Liberty International Airport.

        13.     The CBAs state that United will abide by federal, state or local laws if the terms

differ from the CBA. This language can be found in nine (9) locations including but not limited

to Article 1, Subsection 3, A, 1; Article 3, Subsection 3, A, 4; Article 3 Subsection F, 1; Article

4, A, 9 (c); Article 4, C, 13; Article 4, D, 1, (e) ; Article 5, Subsection A, 5, (a) ; Article 6,

Subsection B, 5 ; and Article 10, Subsection D,7 of the CBAs.

        14.     District 141 filed grievances against United that stated United violated the CBAs

by failing to comply with the Port Authority Policy and Rules as written by failing to provide its

bargaining unit employees with a paid holiday for Martin Luther King, Jr. Day in 2019, 2020 and

2021 or pay the appropriate wages for work performed on Martin Luther King, Jr. Day in 2019,

2020 and 2021 to its bargaining unit employees.

        15.     District 141 followed the proper grievance steps as outlined in the CBA without

resolution. On October 10, 2020 District 141 submitted its grievances to the System Board of




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Adjustment pursuant to Step 4 for determination by the third party Arbitrator as to the merits of

the grievances.

       16.        Per the agreements between District 141 and United, Arbitrator James Conway,

Neutral Board Member, was appointed as the third member of the System Board to decide the

grievances.

       17.        Prior to the hearing on the merits of District 141’s grievances United filed a

motion to dismiss without leave of the Arbitrator to dismiss the pending grievances over the

MLK Day pay issue. United stated that the grievances were substantively unarbitrable and the

regulations in question were beyond the substantive jurisdiction of the System Board and the

Arbitrator.

       18.        On June 5, 2021 Arbitrator Conway issued a Decision and Order on United’s

Motion to Dismiss granting the Motion to Dismiss and ruled that the Arbitrator did not have

substantive jurisdiction to hear District 141’s grievances. A true and correct copy of Arbitrator

Conway’s decision is attached as Exhibit 6.

       19.        Arbitrator Conway in addition addressed and entered an Award indicating that

District 141’s grievances were not timely. This issue was not presented to Arbitrator Conway,

and he heard no testimony nor did he review any documents in relation to this question.

       20.        District 141 has exhausted all other Steps in pursuing its grievances against

United for its failure to comply with the Port Authority’s Amended Rules for Implementation of

Minimum Wage Policy for Non-Trade Labor Service Contracts – LaGuardia Airport, John F.

Kennedy International Airport and Newark Liberty International Airport, for United’s failure to

have a paid day off or appropriate pay for work performed on Martin Luther King Jr., Day by its

bargaining unit employees.



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                                          COUNT I
                                   Vacate Arbitration Award

         21.   Neutral Board Member Arbitrator Conway exceeded his authority under the

Federal Arbitration Act by entering an Award and determining that he did not have substantive

jurisdiction to hear the grievances presented by District 141.

         22.   The determination of substantive jurisdiction is vested with this Honorable Court

not the Neutral Board Member Arbitrator Conway.

         23.   Neutral Board Member Arbitrator Conway exceeded his authority by entering an

Award addressing the timeliness of District 141’s grievances which were not brought before him,

and which he did not hear any testimony nor review any documents in support of his decision.

         24.     The Award of Arbitrator Conway exceeded his powers, or so imperfectly

executed them, that a mutual, final, and definite award upon the subject matter submitted was not

made.

         25.   District 141 is left without a recourse in pursuing its grievances as Neutral

Arbitrator Conway incorrectly found that he did not have substantive jurisdiction to hear the

grievances and found the grievances to be unarbitrable.

         WHEREFORE, Plaintiff, The International Association of Machinists and Aerospace
Workers District 141 prays as follows:
               A. That this Honorable Court Vacate the Arbitration Award entered by Arbitrator
                   James Conway;
               B. That this Honorable Court enter an Order that the Arbitrator has substantive
                   jurisdiction to hear the grievances presented by District 141;
               C. That this Honorable Court remand this matter back to the Arbitrator for a
                   hearing on the merits of the grievances presented by District 141;
               D. That District 141 be awarded its reasonable attorneys’ fees and court costs; and

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                E. That District 141 be granted such other relief as the Court deems just and
                   equitable.
                                            COUNT II
                                         Breach of the CBA

          26.   Plaintiff District 141 realleges Paragraphs 1 through 25 as if more fully stated

herein.

          27.   District 141 pleads in the alternative that since the Neutral Arbitrator has found that

the Neutral Arbitrator does not have substantive jurisdiction to hear the grievances this Honorable

Court has substantive jurisdiction to hear the grievances and determine that United breached the

current Collective Bargaining Agreements.

          28.   United is bound to the terms of the current CBAs between United and the

International Association of Machinist and Aerospace Workers, 2016-2021.

          29.   The CBAs for Passenger Services, Fleet Services, Storekeepers and Maintenance

Instructors state in multiple portions of the CBAs that United will abide by federal, state, or local

laws if the terms differ from the CBA.

          30.   United has stated in its Code of Ethics and Business Conduct “Without exception,

United complies with all applicable laws, rules and regulations.”

          31.   The Port Authority of New York & New Jersey has issued multiple rules and

regulations for its Contractors to follow including but not limited to implementing the Port

Authority’s Amended Rules for Implementation of Minimum Wage Policy for Non-Trade Labor

Service Contracts – LaGuardia Airport, John F. Kennedy International Airport and Newark

Liberty International Airport.

          32.   District 141 represents numerous members who perform work for United under the

Passenger Service, Fleet Services, Storekeepers and Maintenance Instructors CBAs who work at



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LaGuardia Airport, John F. Kennedy International Airport and Newark Liberty International

Airport.

       33.      United is a Contractor with the Port Authority and is bound to the rules and

regulations promulgated by the Port Authority. United has complied with portions of the Port

Authority’s Amended Rules for Implementation of Minimum Wage Policy for Non-Trade Labor

Service Contracts by raising the minimum wage it pays to bargaining unit employee members of

District 141.

       34.      The Port Authority’s Amended Rules for Implementation of Minimum Wage Policy

for Non-Trade Labor Service Contracts state that Contractor’s subject to the Policy and these

Rules shall provide its workers performing Covered Services or Port District Covered Services a

paid holiday for Martin Luther King, Jr. Day.

       35.      The Port Authority’s Amended Rules have the full force and effect of law and

United is required to abide by those terms.

       36.      United does not provide its bargaining unit employee members of District 141 a

paid holiday for Martin Luther King, Jr. Day.

       37.      United does not pay its bargaining unit employee members of District 141 overtime

for individuals who perform work for United on Martin Luther King, Jr. Day.

       38.      District 141 brought multiple grievances pursuant to the terms of the CBA against

United for its failure to pay bargaining unit employees a paid holiday for Martin Luther King, Jr.

Day, or the appropriate overtime for worked performed.

       39.      United violated the terms of the CBA between the parties by failing to comply with

the Port Authority’s Rules and Regulations and failing to pay bargaining unit employees a paid

holiday for Martin Luther King, Jr. Day in 2019, 2020, and 2021.



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       40.     United violated the terms of the CBA between the parties by failing to comply with

the Port Authority’s Rules and Regulations and failing to pay bargaining unit employees the

appropriate overtime wages for worked performed on Martin Luther King Jr. Day in 2019, 2020,

and 2021.

       41.     United violated the terms of the CBA between the parties by failing to pay

appropriate regular wages and overtime wages to its bargaining unit employees for the years 2019,

2020, and 2021.

       42.     United violated the terms of the CBA between the parties by failing to comply with

local rules and regulations set forth by the Port Authority that differ from the CBA for the years

2019, 2020 and 2021.

       WHEREFORE, Plaintiff, The International Association of Machinists and Aerospace
Workers District 141 prays as follows:
               A. That this Honorable Court Enter and Award finding that United breached the
                  terms and provisions of the CBAs between the parties.
               B. That this Honorable Court enter a monetary Judgment against United for all
                  wages due and owing to bargaining unit employees at the affected airports for
                  a paid holiday for Martin Luther King, Jr. Day in 2019, 2020, and 2021.
               C. That this Honorable Court enter a monetary Judgment against United for all
                  overtime wages due and owing to bargaining unit employees at the affected
                  airports who performed work for United on Martin Luther King, Jr. Day in
                  2019, 2020, and 2021.
               D. That District 141 be awarded its reasonable attorneys’ fees and court costs; and
               E. That District 141 be granted such other relief as the Court deems just and
                  equitable.




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                                      Respectfully submitted,
                                      International Association of Machinist and
                                      Aerospace Workers District 141

                                      By:/s/Michael J. McGuire
                                         One of its Attorneys

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